
673 S.E.2d 360 (2009)
Joy B. MURRAY
v.
COUNTY OF PERSON et al.
appealed by Janet Clayton, Harold Kelly and Adam Sarver.
No. 413P08.
Supreme Court of North Carolina.
February 5, 2009.
Robert T. Numbers, II, James R. Morgan, Jr., Winston-Salem, for Janet Clayton, et al.
Alan S. Hicks, Roxboro, for Murray.
Prior report: ___ N.C.App. ___, 664 S.E.2d 58.

ORDER
Upon consideration of the petition filed on the 9th day of September 2008 by Defendants (Janet Clayton, Harold Kelly and Adam Sarver) in this matter for discretionary review of the decision of the North Carolina Court of Appeals pursuant to G.S. 7A-31, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Denied by order of the Court in conference, this the 5th day of February 2009."
